         Case 2:13-cv-02106-TMP Document 32 Filed 10/29/14 Page 1 of 1                                     FILED
                                                                                                  2014 Oct-29 PM 04:36
                                                                                                  U.S. DISTRICT COURT
                                                                                                      N.D. OF ALABAMA




                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION


CHRISTOPHER R. HUDSON,                         )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )       Case No. 2:13-cv-2106-TMP
                                               )
BANK OF AMERICA, N.A.,                         )
                                               )
       Defendant.                              )




                                    ORDER OF DISMISSAL

       The plaintiff has filed a motion to voluntarily dismiss all claims remaining in this action with

prejudice (doc. 31), reciting that the issues have been resolved. Accordingly, the claims are

DISMISSED WITH PREJUDICE. Each party shall bear his or its own costs.


       DONE the 29th day of October, 2014.




                                               T. MICHAEL PUTNAM
                                               U.S. MAGISTRATE JUDGE
